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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF COLORADO
In re:                                  )
                                        )    Bankr. Case No.: 18-19327-KHT
RAED AMEEN ALNAMER,                     )
                                        )    Chapter 7
           Debtor.                      )
                                        )
                                        )
AMERICAN EXPRESS NATIONAL BANK,         )    Adv. Proc. No.: 19-01036-KHT
                                        )
           Plaintiff,                   )
                                        )
v.                                      )
                                        )
RAED AMEEN ALNAMER aka                  )
RAED A. ALNAMER,                        )
                                        )
           Defendant.                   )
                                        )
                                 JUDGMENT

        Pursuant to and in accordance with the Order signed by the Hon. Kimberley H. Tyson

dated    March 29                    , 2019,

        IT IS HEREBY ORDERED AND DECREED that a Judgment is hereby entered in favor

of Plaintiff, American Express National Bank, and against the Defendant, Raed Ameen Alnamer

aka Raed A. Alnamer, in the principal sum of $19,325.87, plus attorneys’ fees and costs totaling

$1,650.00, for a total of $20,975.87, and this amount is nondischargeable pursuant to 11 U.S.C.

§523(a)(2)(A), which Judgment may be satisfied pursuant to the terms and conditions of the

parties’ Stipulated Judgment.

                                                    CLERK OF COURT:

DATED: March 29, 2019
                                                    Deputy Clerk

Approved as to form:


Kimberley H. Tyson
United States Bankruptcy Judge
